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                    United States Court of Appeals for the Second Circuit
                            Thurgood Marshall U.S. Courthouse
                                      40 Foley Square
                                    New York, NY 10007

DEBRA ANN LIVINGSTON                                           CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                    CLERK OF COURT

Date: September 08, 2023                                       DC Docket #: 04-cv-397
Docket #: 15-3135cv                                            DC Court: SDNY (NEW YORK
Short Title: Sokolow v. Palestine Liberation Organizat         CITY)DC Docket #: 04-cv-397
                                                               DC Court: SDNY (NEW YORK
                                                               CITY)DC Docket #: 04-cv-397
                                                               DC Court: SDNY (NEW YORK
                                                               CITY)
                                                               DC Judge: Daniels
                                                               DC Judge: Ellis



                          VERIFIED ITEMIZED BILL OF COSTS



Counsel for
_________________________________________________________________________

respectfully submits, pursuant to FRAP 39 (c) the within bill of costs and requests the Clerk to
prepare an itemized statement of costs taxed against the
________________________________________________________________

and in favor of
_________________________________________________________________________

for insertion in the mandate.

Docketing Fee       _____________________

Costs of printing appendix (necessary copies ______________ ) _____________________

Costs of printing brief (necessary copies ______________ ____) _____________________

Costs of printing reply brief (necessary copies ______________ ) _____________________



(VERIFICATION HERE)
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                                           Signature
